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                                                                                                    FILED
 MICHAEL vERNoN           CRITCHFIELD,            )                                            FEB     - 3 l0l7
                          Plaintiff,              j                                            ,.s. couRr oF
                                                  )               No'   16-1353c              FEDERALcLAIMS
 v.)
                                                  )               Filed: February 3,2017
 THEUNITEDSTATES,                                 )
                                                  )
                          Defendant,              )
                                                  )

                                        DISMISSAL ORDER

        Plaintiff , pro se, Michael Vemon Critchfield, commenced this action on October 17,
2016 (docket entry no.   l).   On November 23, 2016,    plaintiff frled a motion to transfer this   case to

the United States Court ofAppeals for the Federal Circuit, pursuant to Rule 40.1        ofthe Rules of
the United States Court of Federal ClaimsC'RCFC) (docket entry no. 5). On December 12,
2016,the government filed a motion to dismiss, as well as a response in opposition to plaintifP         s

motion to transfer, pursuant to RCFC 12(bxl) and (6) (docket entry no. 7). Plaintiff has not filed
a response to the   government's motion to dismiss, which was due on January 12,2017.1

        On January 24, 2017,the Court issued an Order directing         plaintiffto show   cause why he

failed to timely respond to the governrnent's motion to dismiss and to file a response to the
govemment's motion to dismiss by January 31,2017. In that Order, the Court noted that, should
plaintiff fail to respond to the government's motion to dismiss by January 31, 2017, the Court
would treat plaintiff s failure to respond as a failure to comply with the Court's Order and to
prosecute this matter pursuant to RCFC 41(b).




' On January 23, 2017, the Clerk's Ofiice did receive fiom plaintiff a document entitled "Motion for
Order to Take the Bill Pro Confesso in Ex Parte" (docket entrv no. l0).




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        Because   plaintiff has failed to comply with the Court's January 24, 2017 Order       and   to
timely prosecute this matter, the Court dismisses this action without prejudice. RCFC 4l(b).'z

        And so, for the foregoing reasons, the Court directs the Clerk's Oflice to ENTER final
judgnent DISMISSING the complaint, rilithout prejudice.


        IT IS SO ORDERED.




'RCFC 4l(b) provides that: "[i]fthe plaintifffails to prosecute or to comply with [the Court's] rules or a
court order, the court may dismiss on its own motion or the defendant may move to dismiss the action or
any claim against it." RCFC 4l(b).
